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                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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 8   STANTON HARRY MCCAIN, II,

 9                               Plaintiff,                 CASE NO. 3:20-cv-05650-RSM-BAT

10           v.                                             ORDER GRANTING MOTION FOR
                                                            EXTENSION, DIRECTING
11   DEPARTMENT OF CORRECTIONS, et                          VIEWING OF SURVEILLANCE
     al.,                                                   VIDEO, AND RE-NOTING
12                                                          MOTION FOR SUMMARY
                                 Defendant.                 JUDGMENT
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            This is a civil rights action brought under 42 U.S.C. § 1983. Currently before the Court is
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     plaintiff’s “Motion for Extension of 45 Days to Trial Schedule and Discovery.” Dkt. 41. Plaintiff
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     seeks a forty-five (45) day extension of “all due dates” in the case including “trial and
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     discovery.” Id. Defendants have filed a response. Dkt. 43. Having considered the parties’
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     submissions, the balance of the record, and the governing law, the Court orders that plaintiff’s
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     motion (Dkt. 41) is GRANTED in part and DENIED in part.
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                                               DISCUSSION
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            On January 20, 2021, defendants moved for summary judgment in this action along with
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     a motion to seal and for a protective order related to a surveillance video submitted in support of
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     their motion for summary judgment. Dkts. 27, 32. The parties subsequently moved for an
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     extension of the briefing schedule on defendants’ motion for summary judgment. Dkts. 33, 34,
     ORDER GRANTING MOTION FOR
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     MOTION FOR SUMMARY JUDGMENT - 1
 1   36. By order dated March 11, 2021, the Court granted in part and denied in part defendants’

 2   motion to seal and for a protective order and directed that:

 3            a. On or before April 1, 2021, defense counsel shall either: (1) arrange to facilitate a
                 supervised viewing by Plaintiff of the video at issue, or (2) shall notify the Court and
 4               Plaintiff that they intend to withdraw the video and the Court will not consider the
                 video or any arguments pertaining thereto in deciding defendants’ motion for
 5               summary judgment.
              b. The video submitted by Defendants in support of their motion for summary
                 judgment (Dkt. 28, Ex. 7, Dkt. 31) shall remain under seal with the Court pursuant to
 6               the terms of LCR 5.

 7   Dkt. 40. The Court further granted the parties’ requests for an extension of time (Dkt. 33, 34, 36)
 8   and directed plaintiff to file a response to defendants’ motion for summary judgment by April 22,
 9   2021, and re-noted defendants’ motion to April 30, 2021. Id.
10           On March 29, 2021, plaintiff filed the instant “Motion for Extension of 45 Days to Trial
11   Schedule and Discovery” seeking a forty-five (45) day extension of “all due dates” in the case
12   including “trial and discovery” as well as a “Surrebutal and Clarification/Correction of the
13   Record” which appears to set forth the basis for his request for an extension of time. 1 Dkts. 41,
14   42. Plaintiff appears to request an extension of time in light of various health issues including a
15   potential need for heart surgery and loss of some personal property due to infractions including a
16   lamp and his typewriter. Id. Plaintiff indicates the lack of a typewriter has slowed his ability to
17   respond because he has difficulty with handwriting due to his medical conditions. Id. Plaintiff
18   also generally alleges that the infractions he has received were retaliatory. 2 On March 30, 2021,
19   defendants filed a response in which they note that no trial date has been set in this case and that
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      The Court notes that although plaintiff cites to defendants’ motion for summary judgment in this
21   document this does not appear to constitute a full response to defendants’ motion but to largely serve as
     support for plaintiff’s request for an extension to respond to the motion. Dkt. 42.
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      The Court notes that plaintiff has not moved to amend his complaint to include any additional claims of
     retaliation. The Court also notes that the conclusory claims of retaliation contained in his motion contain
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     insufficient facts as stated to support separate retaliation claims.
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     MOTION FOR SUMMARY JUDGMENT - 2
 1   the deadline for discovery expired many months ago. Dkt. 43. Defendants note that the only

 2   pending deadline in the case, at the time of plaintiff’s motion, was the due date for plaintiff’s

 3   response to defendants’ motion for summary judgment and that, to the extent plaintiff seeks to

 4   extend this deadline, they do not oppose the request. Id.

 5           On April 1, 2021, defendants filed a response to the Court’s March 11, 2021, order

 6   indicating that they did intend to rely on the surveillance video in support of their motion for

 7   summary judgment and would work to arrange for plaintiff to view the video and that the

 8   viewing would likely take place in the next two weeks. Dkt. 44. Defendants also indicated they

 9   would file a confirmation with the Court once the viewing of the video was complete. Id.

10   However, to date defendants have not filed a confirmation that plaintiff has view the video. On

11   April 12, 2021, plaintiff also filed two documents (Dkts. 46, 47) which appear to indicate some

12   dispute or difficulty with viewing the surveillance video, although the exact nature of the dispute

13   or difficulty is unclear.

14           In light of the fact that it appears plaintiff may not yet have viewed the video which

15   defendants rely on in support of their motion for summary judgment, the Court hereby ORDERS

16   as follows:

17       •   Defendants shall arrange for plaintiff to view the video evidence, to the extent he has not

18           already done so, on or before May 26, 2021, and shall file a confirmation that the

19           viewing has taken place with the Court by May 27, 2021.

20       •   Plaintiff’s motion for extension (Dkt. 41) is GRANTED in part and DENIED in part.

21                 o The motion is granted to the extent that the deadline for plaintiff to file a response

22                    to defendants’ motion for summary judgment is extended to June 14, 2021.

23                    Plaintiff is advised that his response should include any and all arguments and
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 1                evidence he intends to assert in opposition to defendants’ motion for summary

 2                judgment.

 3            o To the extent plaintiff seeks an extension of the trial and discovery deadlines his

 4                motion is denied. No trial date has been set in the case and the discovery deadline

 5                expired several months ago and plaintiff’s motion sets forth no basis to re-open

 6                discovery at this time.

 7     •   The Clerk is directed to re-note defendants’ motion for summary judgment (Dkt. 27) to

 8         June 18, 2021.

 9     •   The Clerk shall provide a copy of this order to both parties.

10         DATED this 11th day of May, 2021.

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                                                         BRIAN A. TSUCHIDA
13                                                       United States Magistrate Judge

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     ORDER GRANTING MOTION FOR
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     SURVEILLANCE VIDEO, AND RE-NOTING
     MOTION FOR SUMMARY JUDGMENT - 4
